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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 SINGULAR COMPUTING LLC,                              Civil Action No. 1:19-cv-12551-FDS

                         Plaintiff,

 v.

 GOOGLE LLC,
                                                      JURY TRIAL DEMANDED
                         Defendant.


                  AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff, Singular Computing LLC (“Singular”), for its amended complaint against

Defendant, Google LLC, (“Google”), alleges as follows:

                                          THE PARTIES

        1.       Singular is a Delaware limited liability company having its principal places of

business at 10 Regent Street, Newton, MA 02465 and The Cambridge Innovation Center, 1

Broadway, Cambridge, MA 02142.

        2.       Google is a Delaware limited liability company and has regular and established

places of business in this District, including a major office complex in Cambridge,

Massachusetts with over 1,500 employees. Google may be served with process through its

registered agent, Corporation Service Company, 84 State Street, Boston, MA 02109.




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                                          JURISDICTION

       3.      This is a civil action for patent infringement under the patent laws of the United

States, 35 U.S.C. § 271, et seq. This Court has subject matter jurisdiction under 28 U.S.C.

§§ 1331 and 1338(a).

       4.      This Court has general personal jurisdiction over Google because Google is

engaged in substantial activity, which is not isolated, at its regular and established places of

business within this judicial district. This Court has specific jurisdiction over Google because

Google has committed acts of infringement within this judicial district giving rise to this action,

and has established more than minimum contacts within this judicial district, such that the

exercise of jurisdiction over Google in this Court would not offend traditional notions of fair

play and substantial justice.

       5.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)-(c) and

1400(b) because Google maintains regular and established places of business and has committed

acts of patent infringement within this judicial district.

                                   FACTUAL BACKGROUND

       6.      Singular was founded by Dr. Joseph Bates to, inter alia, design, develop, and

produce computers having new architectures, including the patented computer architectures at

issue in this case. Dr. Bates is the President and CEO of Singular. Since 2009, Singular has

continuously operated out of the Boston area.

       7.      Dr. Bates’ interest in computer science dates back to at least 1969, when, as a

thirteen-year-old youth, he was admitted to Johns Hopkins University. His success at this

university sparked a pilot program for exceptionally gifted youths, which program went on to

become the widely recognized Johns Hopkins Center for Talented Youth (also known as “CTY”;



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see https://cty.jhu.edu ) that developed the talents of over 165,000 academically advanced pre-

college students, including those of Google’s co-founders (Sergei Brin and Larry Page). By age

seventeen, Dr. Bates had earned bachelor’s and master’s degrees in computer science from Johns

Hopkins. He earned a computer science doctoral degree from Cornell University at age twenty-

three. Dr. Bates’ research and teaching interests have centered around several cutting-edge

computer science topics, including the design of computer programming languages, and artificial

intelligence (AI) software programs (i.e., software programs that see, hear, or understand).

       8.      During his career working at the vanguard of computer science, Dr. Bates realized

that although the theoretical computing power inside computers (as represented by the number of

transistors inside a computer) was growing exponentially under a phenomenon popularly known

as Moore’s Law, the vast majority of that increase in computing power was not being made

available to users. Under then existing computer architectures, even computers containing over a

billion transistors were architected so as to typically perform only a handful of operations per

unit of time (“period”) when using CPUs. Such conventional computers typically performed

only a few hundred operations per period when using GPUs.

       9.      The new, novel and improved computer architectures developed by Dr. Bates,

provide for the inclusion within computer processors, of processing elements designed to

perform low precision and high dynamic range (LPHDR) arithmetic operations. Dr. Bates’

patented architectures, allow for, inter alia, more efficient use of a computer’s transistors and

have revolutionized the way AI training and inference are accomplished.

       10.     For example, a multiplication operation requested by many software programs

requires on the order of a million transistors per multiplication operation when using a

conventional computer architecture. Implementing Dr. Bates’ LPHDR architecture on the other



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hand can require a far smaller number of transistors per multiplication operation, as specified in

his patents. That vast difference in the required number of transistors per multiplication

operation creates the opportunity to pack into a computer having a normal number of transistors

(e.g., several billion transistors, for a personal computer) a very large number of LPHDR

processing elements that can each perform an operation per period. Such a large number of

LPHDR processing elements can collectively perform a number of operations per period that is

on the order of a hundred times larger than the number of operations per period performed by a

conventional computer having the same number of transistors. A computer utilizing Dr. Bates’

novel architecture achieves this advantage—executing a far larger number of operations per

period than a conventional computer—while supporting software programs that require

operations to be performed on numbers having high dynamic range.

       11.     Dr. Bates’ architectures accomplish the foregoing even though the constituent

LPHDR processing elements frequently generate, in response to requests to perform arithmetic

operations, results that materially differ from the exact results of those operations. Singular

LPHDR processing elements used in an AI software program, for example, can generate results

in response to requested arithmetic operations that differ by at least 0.2% from their respective

exact results, for at least 10% of all such requested operations, and yet still enable that AI

software program to function correctly. It was not obvious and was in fact counterintuitive to

those skilled in the art as of 2009 to make a computer from a very large number of LPHDR

processing elements that each frequently generate such materially inexact results, knowing that

such a computer was going to be used by software programs to execute numerous tasks that each

required hundreds, thousands or even millions of sequential arithmetic operations that could




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accumulate errors. Dr. Bates, however, conceived and made such a computer utilizing his novel

and patented computer architectures.

       12.     In some embodiments of Singular’s patented computer architectures, LPHDR

processing elements can be deployed within a computer in massively parallel configurations to

further amplify their relatively higher efficiency. In still other exemplary configurations, massive

numbers of these LPHDR processing elements can be deployed in conjunction with far smaller

numbers of higher precision processing elements found within conventional computer

architectures, to extend the range of software programs that can benefit from Singular’s high-

efficiency computing architecture.

       13.     Singular’s revolutionary approach to computer architecture is described in a

provisional patent application entitled “Massively Parallel Processing with Compact Arithmetic

Element” that was filed in June of 2009 and made public in June of 2010.

       14.     After filing this seminal patent application, Singular under the direction of Dr.

Bates built a computer incorporating its novel architecture. The Singular prototype was able to

execute a software program that performed conventional neural network image classification, for

example, at a rate 30 times faster than a conventional computer having comparable physical

characteristics in terms of its number of transistors, its semiconductor fabrication process and

power draw.

       15.     As Singular was designing and building prototypes of its new computer, Google

was belatedly recognizing the limitations of its conventional computer architectures in providing

users with computer-based services such as Translate, Photos, Search, Assistant, and

Gmail. According to Google, it was hurtling towards a “scary and daunting” situation. The

situation arose as Google was starting to improve these services by running AI software



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programs on its computers, and as those services consequently became more popular. According

to Google, it was “scary and daunting” because the new AI software programs being run on the

computers in its data centers required far more computer operations per period than the software

programs Google was previously executing. For example, by its own estimation, Google would

have to at least double its computing footprint just to keep up with the increased computer

requirements being driven by improved AI-based speech recognition services alone. Google

realized it needed Dr. Bates’ computer architectures to solve this “daunting” situation.

       16.     Google’s infringement of U.S. Patents 8,407,273 (the “’273 patent”) and

9,218,156 (the “’156 patent”) is willful.

       17.     Less than 2 years after the filing of the provisional application, Dr. Bates and

Google executed a non-disclosure agreement (NDA) prepared by Google.

       18.     After the filing of the provisional patent application, Dr. Bates met with

representatives from Google more than three times prior to early 2017.

       19.     During the course of these meetings, Dr. Bates disclosed his computer

architectures and prototype. Dr. Bates also advised Google such was patent-protected.

       20.     Google knew or should have known of the ’273 and ’156 patents prior to the

launch of the accused Cloud Tensor Processing Unit Version 2 (TPUv2 Device) in May 2017.




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          21.     Prior to the launch of the accused TPUv2 Device and Cloud Tensor Processing

   Unit Version 3 (TPUv3 Device), Google knew or should have known that the accused devices

   infringed the ’273 and ’156 patents or was willfully blind to such infringement.

          22.     Following disclosure to Google by Dr. Bates of his invention, Google copied and

   adopted Dr. Bates’ patented invention, incorporating such into the accused TPUv2 and TPUv3

   Devices and more generally into its data centers. This is apparent from a comparison of Dr.

   Bates’ patented architecture and that of the accused TPUv2 and TPUv3 Devices. It is also

   apparent from an exemplary comparison of the disclosures made in writing by Dr. Bates to

   Google from 2010-2014 with the properties and features that Google later adopted in its TPUv2

   and TPUv3 Devices in 2017-2018. For example:

Singular Presentations Made to Google / Jeff Dean Google Documents
(2010-2014)

                                                       Google Publication of TPUv2 (2017) and
                                                       TPUv3 (2018)




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Singular Presentations Made to Google / Jeff Dean Google Documents
(2010-2014)

                                                                     “We started to look at what we
                                                                     could do for these kinds of deep
                                                                     learning models that could be more
                                                                     computationally efficient and there
                                                                     are two really nice properties that
                                                                     deep learning models have. First,
                                                                     they are very tolerant of reduced
                                                                     precision... you don’t need 6 or 7
                                                                     digits of precision like you would
                                                                     in floating point computations or
                                                                     even       more       in    double
                                                                     computations… you can build
                                                                     hardware that is only designed to
                                                                     accelerate low precision linear
                                                                     algebra, you’re golden, and that
                                                                     enables you then really tailor the
                                                                     hardware to do only that,”




                                                                     “Around the time of maybe 2011,
                                                                     2012, when the Google Brain
                                                                     project that I co-founded was just
                                                                     getting started, we started to
                                                                     collaborate with . . . the speech
                                                                     recognition team [at Google] . . .
                                                                     and so we could tell that as speech
                                                                     recognition gets better people are
                                                                     going to use it more and more . . .
                                                                     and at the time, we had [sic] lots and
                                                                     lots of CPUs in our data center and
                                                                     if you look at how much
                                                                     computation that would be required
                                                                     if a hundred million of our users
                                                                     started to do that, that was actually
                                                                     kind of daunting and scary, we
                                                                     would have essentially double the
                                                                     computing footprint of Google just
                                                                     to support like a slightly better
                                                                     speech recognition model.




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        23.     Prior to 2017, Google knew that its demand for AI-based user services far

exceeded its computing capabilities. Google recognized that, but for its inclusion of the

technology covered by Dr. Bates’ patents inside its computers, it would have had to at least

double its computing footprint to accommodate such demand for delivering increased speech

recognition services alone.

        24.     As of 2017, Google housed its service-providing computers in the United States

in at least eight data centers. As of 2017, the approximate cost to build each data center was at

least $1.25 billion. As Google recognized, unless it incorporated Dr. Bates’ patented technology,

it would have to at least double its number of data centers in the U.S. at a cost of at least $10

billion to accommodate increased demand.

        25.     Google uses the accused TPUv2 and TPUv3 Devices to provide AI capabilities

that enhance the performance and efficacy of its Ads platform (e.g. determining which ads to

serve to which users to maximize revenue to Google), as well as its Translate, Photos, Search,

Assistant, Cloud and Gmail services. Google provides Translate, Photos, Search, Assistant,

Cloud, and Gmail services to the public and leverages public engagement with these services to

enhance its Ads platform. As a result, Google services generate at least tens of billions of dollars

per year in profit.

        26.     Google now operates at least eleven data centers in the USA. On information and

belief, Google’s infringing TPUv2 and TPUv3 Devices are installed at and operate in each of

these data centers. These include Google’s USA-based data centers at: Berkeley County, South

Carolina; Council Bluffs, Iowa; The Dalles, Oregon; Douglas County, Georgia; Henderson,

Nevada; Jackson County, Alabama; Lenior, North Carolina; Loudoun County, Virginia; Mayes

County, Oklahoma; Midlothian, Texas; and Montgomery County, Tennessee.


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                                     THE PATENTS-IN-SUIT

        27.     On March 26, 2013, the USPTO issued United States Patent No. 8,407,273, titled

PROCESSING WITH COMPACT ARITHMETIC PROCESSING ELEMENT. On December

22, 2015, the USPTO issued United States Patent No. 9,218,156, titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSING ELEMENT. On September 17, 2019, the USPTO

issued United States Patent No. 10,416,961 (“the ’961 patent”), titled PROCESSING WITH

COMPACT ARITHMETIC PROCESSING ELEMENT. The ’273 patent, ’156 patent, and ’961

patent (collectively the “patents-in-suit”) are each valid and enforceable.

        28.     Singular is the owner and assignee of all rights, title and interest in and to the

patents-in-suit, and holds all substantial rights therein, including the right to grant licenses, to

exclude others, and to enforce and recover past damages for infringement. The assignment of

rights for the ’156 patent was duly recorded at the USPTO on March 25, 2013. The assignment

of rights for the ’273 patent was duly recorded at the USPTO on February 17, 2012. The

assignment of rights for the ’961 patent was duly recorded at the USPTO on October 30, 2018.

        29.     The application for the patents-in-suit was first filed by inventor Dr. Bates as a

provisional patent application (Application No. 61/218,691) on June 19, 2009.

  PATENT ELIGIBILITY - CLAIMED ADVANCE OF REPRESENTATIVE CLAIMS

        30.     The claims asserted in this action are eligible for patenting under 35 U.S.C. § 101.

                               ’273 Patent – Representative Claim 53

        31.     Claim 53 of the ’273 patent is representative of that patent’s claims. In

independent form, claim 53 reads:

                A device:

                comprising at least one first low precision high dynamic range (LPHDR)
                execution unit adapted to execute a first operation on a first input signal


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               representing a first numerical value to produce a first output signal
               representing a second numerical value,

               wherein the dynamic range of the possible valid inputs to the first
               operation is at least as wide as from 1/1,000,000 through 1,000,000 and
               for at least X = 5% of the possible valid inputs to the first operation, the
               statistical mean, over repeated execution of the first operation on each
               specific input from the at least X % of the possible valid inputs to the first
               operation, of the numerical values represented by the first output signal of
               the LPHDR unit executing the first operation on that input differs by at
               least Y = 0.05% from the result of an exact mathematical calculation of
               the first operation on the numerical values of that same input;

               wherein the number of LPHDR execution units in the device exceeds [by
               at least one hundred] the non-negative integer number of execution units
               in the device adapted to execute at least the operation of multiplication on
               floating-point numbers that are at least 32 bits wide.

       32.     The “execution unit” of claim 53 is a circuit that is part of a processing unit (itself

part of a computing system). As instructed by a computer program, the “execution unit”

performs operations on a first input signal representing a first numerical value, to produce a first

output signal representing a second numerical value.

       33.     The LPHDR execution unit, as defined by claim 53, is a new execution unit (i.e.,

a new circuit) that is configured to (a) receive as an input to an operation an electrical signal

representing numbers having a dynamic range at least as wide as from 1/1,000,000 through

1,000,000, and (b) transmit as an output for at least X = 5% of the possible valid inputs to that

operation, an electrical signal representing numbers that differ by at least 0.05% from the result

of an exact mathematical calculation of that operation on the numerical values of that same input.

       34.     The “dynamic range” of the inputs to the execution unit of claim 53 is the range in

value of inputs that can be operated upon by that unit. The dynamic range is typically expressed

as being at least as wide as “from 1/Z through Z.” The new LPHDR unit of claim 53 receives as




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an input an electrical signal representing numbers having a dynamic range at least as wide as

from 1/1,000,000 through 1,000,000.

         35.   Execution by the LPHDR execution unit, as defined by claim 53, of an operation

on an input numerical value will produce an output numerical value. Repeated execution of that

operation on that input will produce a distribution of output numerical values. The statistical

mean of that distribution will often differ from the result of an exact mathematical calculation of

that operation on the numerical value of that same input.

         36.   With the LPHDR units of the device of claim 53, for at least 5% of the inputs, the

statistical mean of the outputs generated by repeated execution of an operation will differ by at

least .05% from the result of an exact mathematical calculation of that operation on that same

input.

         37.   Claim 53 refers to “execution units adapted to execute a multiplication operation

on floating type numbers that are least 32 bits wide.” These are execution units that perform

multiplication operations, as instructed by a computer program, on numbers that are no less wide

than 32 bits. Those would not be LPHDR execution units.

         38.   The device of claim 53 has at least 100 LPHDR units of the type described in the

claim. If the device also has execution units adapted to execute a multiplication operation on

floating point numbers that are least 32 bits wide, then the number of LPHDR units would

exceed the number of those 32 bit wide units by at least 100.

         39.   An example of the invention of claim 53 is a computer having more than 100

LPHDR execution units, where each LPHDR execution unit would be structured to receive as

inputs electrical signals that represent numbers using a logarithmic number system format with

an integer field of 5 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs



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electrical signals that represent numbers using a logarithmic number system format with a

fraction field of 6 bits plus a sign bit. The example computer further includes a far smaller

number of execution units that each execute the operation of multiplication on floating point

values that are at least 32 bits wide, that far smaller number being at least 100 fewer than the

number of LPHDR units in the computer.

       40.     Another example of the invention of claim 53 is a computer having more than 100

LPHDR execution units, where each LPHDR execution unit is structured to receive as inputs

electrical signals that represent numbers using a floating point number system format with an

exponent field of 5 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a floating point number system format with a

mantissa field of 10 bits plus a sign bit.   The example computer further includes a far smaller

number of execution units that each execute the operation of multiplication on floating point

values that are at least 32 bits wide, that far smaller number being at least 100 fewer than the

number of LPHDR units in the computer.

       41.     Another example of the invention of claim 53 is a computer having more than 100

LPHDR execution units, where each LPHDR execution unit is structured to receive as inputs

electrical signals that represent numbers using a floating point number system format with an

exponent field of 7 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a floating point number system format with a

mantissa field of 7 bits plus a sign bit. The example computer further includes a far smaller

number of execution units that each execute the operation of multiplication on floating point

values that are at least 32 bits wide, that far smaller number being at least 100 fewer than the

number of LPHDR units in the computer.



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       42.      The device of claim 53 substantially differs structurally from devices in the prior

art. For example, graphics processors that included support for 16-bit floating point, alongside

support for 32 bit floating point and 64 bit floating point, as disclosed in the ‘273 patent at 5:31-

33, did not have any execution units that receive as an input an electrical signal representing

numbers having a dynamic range at least as wide as from 1/1,000,000 through 1,000,000, and

that transmit as an output for at least X = 5% of the possible valid inputs to that operation, an

electrical signal representing numbers that differ by at least 0.05% from the result of an exact

mathematical calculation of that operation on the numerical values of that same input. The

graphics processors disclosed in the ‘273 patent at 5:31-33 did not include a single LPHDR

execution unit according to claim 53. Dr. Bates was the first to reduce to practice a computer

that includes an LPHDR execution unit, and even coined “LPHDR” to describe the unit. As

computers that included LPHDR execution units did not exist in the prior art, their use in the

invention was not the use of existing computing technology or an existing implementation of

computer processors.

       43.      The device (computer) of claim 53 was not conventional. Reducing the invention

to practice required the design and manufacture of hardware different from the hardware used in

conventional processing units, because conventional hardware at that time was completely

unsuitable to implement the invention.

       44.      The novel architecture of the device of claim 53 yielded the following advantages

over prior art computing devices:

             a. more efficient use of a computer’s transistors, by requiring a far smaller number

                of transistors per multiplication operation done by the one or more LPHDR units

                than the execution units of conventional computers;



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                b. the ability to collectively perform a number of operations per period as much as

                   on the order of one hundred times larger than the number performed by a

                   conventional computer having the same number of transistors, semiconductor

                   fabrication process, and power draw; and

                c. while supporting software programs that require operations to be performed on

                   numbers having high dynamic range.

          45.      The device of claim 53 was able to execute a far larger number of operations per

period than a conventional computer, while supporting software programs that require operations

to be performed on numbers having high dynamic range. And by deploying massive numbers of

LPHDR execution units in conjunction with far smaller numbers of higher precision processing

elements, the device supports operations performed at a wider range of precisions and dynamic

ranges.

          46.      The claimed advance to which claim 53 was directed was a computer that can

execute a far larger number of operations per period than a conventional computer, while

supporting software programs that require operations to be performed on numbers having high

dynamic range, by:

                a. adding to a computer at least 100 LPHDR units, each LPHDR unit manipulating

                   numbers having a range of at least 1,000,000 to 1/1,000,000, and each LPHDR

                   unit’s operations being imprecise by at least 0.05% for at least 5% of its possible

                   inputs;

                b. combining with that number of LPHDR units, a far smaller number of execution

                   units that each execute the operation of multiplication on floating point values that




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               are at least 32 bits wide, that far smaller number being at least 100 fewer than the

               number of LPHDR units in the computer.

                              ’156 Patent – Representative Claim 7

       47.     Claim 7 of the ’156 patent is representative of that patent’s claims. In

independent form, claim 7 reads:

               A device comprising:

               at least one first low precision high-dynamic range (LPHDR) execution
               unit adapted to execute a first operation on a first input signal representing a first
               numerical value to produce a first output signal representing a second numerical
               value,

               wherein the dynamic range of the possible valid inputs to the first operation is at
               least as wide as from 1/1,000,000 through 1,000,000 and for at least X=5% of the
               possible valid inputs to the first operation, the statistical mean, over repeated
               execution of the first operation on each specific input from the at least X % of the
               possible valid inputs to the first operation, of the numerical values represented by
               the first output signal of the LPHDR unit executing the first operation on that
               input differs by at least Y=0.05% from the result of an exact mathematical
               calculation of the first operation on the numerical values of that same input; and

               at least one first computing device adapted to control the operation of the at least
               one first LPHDR execution unit

               wherein the at least one first computing device comprises at least one of a central
               processing unit (CPU), a graphics processing unit (GPU), a field programmable
               gate array (FPGA), a microcode-based processor, a hardware sequencer, and a
               state machine; and,

               wherein the number of LPHDR execution units in the device exceeds by at least
               one hundred the non-negative integer number of execution units in the device
               adapted to execute at least the operation of multiplication on floating point
               numbers that are at least 32 bits wide.

       48.     The “execution unit” of claim 7 is a circuit that is part of a processing unit (itself

part of a computing system). As instructed by a computer program, the “execution unit”

performs operations on a first input signal representing a first numerical value, to produce a first

output signal representing a second numerical value.


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         49.   The LPHDR execution unit, as defined by claim 7, is a new execution unit (i.e., a

new circuit) that is configured to (a) receive as an input to an operation an electrical signal

representing numbers having a dynamic range at least as wide as from 1/1,000,000 through

1,000,000, and (b) transmit as an output for at least X = 5% of the possible valid inputs to that

operation, an electrical signal representing numbers that differ by at least 0.05% from the result

of an exact mathematical calculation of that operation on the numerical values of that same input.

         50.   The “dynamic range” of the inputs to the execution unit of claim 7 is the range in

value of inputs that can be operated upon by that unit. The dynamic range is typically expressed

as being at least as wide as “from 1/Z through Z.” The new LPHDR unit of claim 53 receives as

an input an electrical signal representing numbers having a dynamic range at least as wide as

from 1/1,000,000 through 1,000,000.

         51.   Execution by the LPHDR execution unit, as defined by claim 7, of an operation

on an input numerical value will produce an output numerical value. Repeated execution of that

operation on that input will produce a distribution of output numerical values. The statistical

mean of that distribution will often differ from the result of an exact mathematical calculation of

that operation on the numerical value of that same input.

         52.   With the LPHDR units of the device of claim 7, for at least 5% of the inputs, the

statistical mean of the outputs generated by repeated execution of an operation will differ by at

least .05% from the result of an exact mathematical calculation of that operation on that same

input.

         53.   The device of claim 7 also comprises, at least one of a central processing unit

(CPU), a graphics processing unit (GPU), a field programmable gate array (FPGA), a microcode-




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based processor, a hardware sequencer, and a state machine, adapted to control the operation of

the one or more LPHDR execution units.

       54.     Claim 7 refers to “execution units adapted to execute a multiplication operation

on floating type numbers that are least 32 bits wide.” These are execution units that perform

multiplication operations, as instructed by a computer program, on numbers that are no less wide

than 32 bits. Those would not be LPHDR execution units.

       55.     The device of claim 7 would have at least 100 LPHDR units of the type described

in the claim. If the device also has execution units adapted to execute a multiplication operation

on floating point numbers that are least 32 bits wide, then the number of LPHDR units would

exceed the number of those 32 bit wide units by at least 100.

       56.     An example of the invention of claim 7 is a computer having more than 100

LPHDR execution units, where each LPHDR execution unit would be structured to receive as

inputs electrical signals that represent numbers using a logarithmic number system format with

an integer field of 5 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a logarithmic number system format with a

fraction a field of 12 bits plus a sign bit. The example computer further includes a far smaller

number of execution units that each execute the operation of multiplication on floating point

values that are at least 32 bits wide, that far smaller number being at least 100 fewer than the

number of LPHDR units in the computer.

       57.     Another example of the invention of claim 7 is a computer having more than 100

LPHDR execution units, where each LPHDR execution unit is structured to receive as inputs

electrical signals that represent numbers using a floating point number system format with an

exponent field of 5 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs



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electrical signals that represent numbers using a floating point number system format with a

mantissa field of 10 bits plus a sign bit.   The example computer further includes (a) a far

smaller number of execution units that each execute the operation of multiplication on floating

point values that are at least 32 bits wide, that far smaller number being at least 100 fewer than

the number of LPHDR units in the computer, and (b) a computing device that is any of a central

processing unit (CPU), a graphics processing unit (GPU), a field programmable gate array

(FPGA), a microcode-based processor, a hardware sequencer, and a state machine, and that

controls the operation of the LPHDR units.

        58.     Still another example of the invention of claim 7 is a computer having more than

100 LPHDR execution units, where each LPHDR execution unit is structured to receive as inputs

electrical signals that represent numbers using a floating point number system format with an

exponent field of 7 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a floating point number system format with a

mantissa field of 7 bits plus a sign bit. The example computer further includes (a) a far smaller

number of execution units that each execute the operation of multiplication on floating point

values that are at least 32 bits wide, that far smaller number being at least 100 fewer than the

number of LPHDR units in the computer, and (b) a computing device that is any of a central

processing unit (CPU), a graphics processing unit (GPU), a field programmable gate array

(FPGA), a microcode-based processor, a hardware sequencer, and a state machine, and that

controls the operation of the LPHDR units.

        59.     The device of claim 7 substantially differs structurally from devices in the prior

art. For example, graphics processors that included support for 16-bit floating point, alongside

support for 32 bit floating point and 64 bit floating point, as disclosed in the ‘156 patent at 5:36-



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38, did not have any execution units that receive as an input an electrical signal representing

numbers having a dynamic range at least as wide as from 1/1,000,000 through 1,000,000, and

that transmit as an output for at least X = 5% of the possible valid inputs to that operation, an

electrical signal representing numbers that differ by at least 0.05% from the result of an exact

mathematical calculation of that operation on the numerical values of that same input. The

graphics processors disclosed in the ‘156 patent at 5:36-38 did not include a single LPHDR

execution unit according to claim 7. Dr. Bates was the first to reduce to practice a computer that

includes an LPHDR execution unit, and even coined “LPHDR” to describe the unit. As

computers that included LPHDR execution units did not exist in the prior art, their use in the

invention was not the use of existing computing technology or an existing implementation of

computer processor.

       60.      The device (computer) of claim 7 was not conventional. Reducing the invention

to practice required the design and manufacture of hardware different from the hardware used in

conventional processing units, because conventional hardware at that time was completely

unsuitable to implement the invention.

       61.      The novel architecture of the device of claim 7 yielded the following advantages

over prior art computing devices:

             a. more efficient use of a computer’s transistors, by requiring a far smaller number

                of transistors per multiplication operation done by the one or more LPHDR units

                than the execution units of conventional computers;

             b. the ability to collectively perform a number of operations per period as much as

                on the order of one hundred times larger than the number performed by a




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                conventional computer having the same number of transistors, semiconductor

                fabrication process, and power draw;

             c. while supporting software programs that require operations to be performed on

                numbers having high dynamic range; and

             d. while providing a heterogenous computer architecture that can support a wider

                range of software programs.

       62.      The device of claim 7 was able to execute a far larger number of operations per

period than a conventional computer, while supporting software programs that require operations

to be performed on numbers having high dynamic range. By deploying massive numbers of

LPHDR execution units in conjunction with far smaller numbers of higher precision processing

elements, the device supports operations performed at a wider range of precisions and dynamic

ranges. Furthermore, by incorporating a computing device that is any of a central processing

unit (CPU), a graphics processing unit (GPU), a field programmable gate array (FPGA), a

microcode-based processor, a hardware sequencer, and a state machine, and that controls the

operation of the LPHDR units, the device of claim 7 implements a heterogeneous architecture

that can support a wider range of software programs.

       63.      The advance to which claim 7 was directed was a computer having a

heterogeneous architecture that can support a wider range of software programs, can execute a

far larger number of operations per period than a conventional computer, while supporting

software programs that require operations to be performed on numbers having high dynamic

range, by:

             a. adding to a computer at least 100 LPHDR units, each LPHDR unit manipulating

                numbers having a range of at least 1,000,000 to 1/1,000,000, and each LPHDR



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                unit’s operations being imprecise by at least 0.05% for at least 5% of its possible

                inputs;

             b. combining with that number of LPHDR units, a far smaller number of execution

                units that each execute the operation of multiplication on floating point values that

                are at least 32 bits wide, that far smaller number being at least 100 fewer than the

                number of LPHDR units in the computer; and

             c. further incorporating a computing device that is of a central processing unit

                (CPU), a graphics processing unit (GPU), a field programmable gate array

                (FPGA), a microcode-based processor, a hardware sequencer, and a state

                machine, and that controls the operation of the LPHDR units.

                               ’961 Patent – Representative Claim 4

       64.      Claim 4 of the ’961 patent is representative of that patent’s claims. In

independent form, claim 4 reads:

                A device comprising:

                at least one first low precision high-dynamic range (LPHDR) execution
                unit adapted to execute a first operation on a first input signal representing a first
                numerical value to produce a first output signal representing a second numerical
                value,

                wherein the dynamic range of the possible valid inputs to the first operation is at
                least as wide as from 1/1,000,000 through 1,000,000 and for at least X=10% of
                the possible valid inputs to the first operation, the statistical mean, over repeated
                execution of the first operation on each specific input from the at least X % of the
                possible valid inputs to the first operation, of the numerical values represented by
                the first output signal of the LPHDR unit executing the first operation on that
                input differs by at least Y=0.2% from the result of an exact mathematical
                calculation of the first operation on the numerical values of that same input;

                at least one first computing device adapted to control the operation of the at least
                one first LPHDR execution unit;




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       65.     The “execution unit” of claim 4 is a circuit that is part of a processing unit (itself

part of a computing system). As instructed by a computer program, the “execution unit”

performs operations on a first input signal representing a first numerical value, to produce a first

output signal representing a second numerical value.

       66.     The LPHDR execution unit, as defined by claim 4, is a new execution unit (i.e., a

new circuit) that is configured to (a) receive as an input to an operation an electrical signal

representing numbers having a dynamic range at least as wide as from 1/1,000,000 through

1,000,000, and (b) transmit as an output for at least X = 10% of the possible valid inputs to that

operation, an electrical signal representing numbers that differ by at least 0.2% from the result of

an exact mathematical calculation of that operation on the numerical values of that same input.

       67.     The “dynamic range” of the inputs to the execution unit of claim 4 is the range in

value of inputs that can be operated upon by that unit. The dynamic range is typically expressed

as being at least as wide as “from 1/Z through Z.” The new LPHDR unit of claim 53 receives as

an input an electrical signal representing numbers having a dynamic range at least as wide as

from 1/1,000,000 through 1,000,000.

       68.     Execution by the LPHDR execution unit, as defined by claim 4, of an operation

on an input numerical value will produce an output numerical value. Repeated execution of that

operation on that input will produce a distribution of output numerical values. The statistical

mean of that distribution will often differ from the result of an exact mathematical calculation of

that operation on the numerical value of that same input.

       69.     With the LPHDR units of the device of claim 4, for at least 10% of the inputs, the

statistical mean of the outputs generated by repeated execution of an operation will differ by at




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least .2% from the result of an exact mathematical calculation of that operation on that same

input.

         70.   The device of claim 4 further comprises a computing device adapted to control

the operation of the one or more LPHDR execution units.

         71.   An example of the invention of claim 4 is a computer having at least one LPHDR

execution unit, where each LPHDR execution unit would be structured to receive as inputs

electrical signals that represent numbers using a logarithmic number system format with an

integer field of 5 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a logarithmic number system format with a

fraction field of 8 bits plus a sign bit. The example computer further includes a computing

device that controls the operation of the LPHDR units.

         72.   Still another example of the invention of claim 4 is a computer having at least one

LPHDR execution unit, where each LPHDR execution unit is structured to receive as inputs

electrical signals that represent numbers using a floating point number system format with an

exponent field of 7 bits plus a sign bit. Each LPHDR unit is structured to transmit as outputs

electrical signals that represent numbers using a floating point number system format with a

mantissa field of 7 bits plus a sign bit. The example computer further includes a computing

device that controls the operation of the LPHDR units.

         73.   The device of claim 4 substantially differs structurally from devices in the prior

art. For example, graphics processors that included support for 16-bit floating point, alongside

support for 32 bit floating point and 64 bit floating point, as disclosed in the ‘961 patent at 5:23-

25, did not have any execution units that receive as an input an electrical signal representing

numbers having a dynamic range at least as wide as from 1/1,000,000 through 1,000,000, and



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that transmit as an output for at least X = 10% of the possible valid inputs to that operation, an

electrical signal representing numbers that differ by at least 0.2% from the result of an exact

mathematical calculation of that operation on the numerical values of that same input. The

graphics processors disclosed in the ‘961 patent at 5:23-25 did not include a single LPHDR

execution unit according to claim 4. Dr. Bates was the first to reduce to practice a computer that

includes an LPHDR execution unit, and even coined “LPHDR” to describe the unit. As

computers that included LPHDR execution units did not exist in the prior art, their use in the

invention was not the use of existing computing technology or an existing implementation of

computer processor.

       74.      The device (computer) of claim 4 was not conventional. Reducing the invention

to practice required the design and manufacture of hardware different from the hardware used in

conventional processing units, because conventional hardware at that time was completely

unsuitable to implement the invention.

       75.      The novel architecture of the device of claim 4 yielded the following advantages

over prior art computing devices:

       a. more efficient use of a computer’s transistors, by requiring a far smaller number of

             transistors per multiplication operation done by the one or more LPHDR units than

             the execution units of conventional computers;

       b. the ability to collectively perform a number of operations per period larger than the

             number performed by a conventional computer having the same number of

             transistors, semiconductor fabrication process, and power draw;

       c. while supporting software programs that require operations to be performed on

             numbers having high dynamic range; and



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       d. while providing a heterogenous computer architecture that can support a wider range

             of software programs.

       76.      The device of claim 4 was able to execute a far larger number of operations per

period than a conventional computer, while supporting software programs that require operations

to be performed on numbers having high dynamic range. Furthermore, by incorporating a

computing device that controls the operation of the one or more LPHDR execution units, the

device of claim 4 implements a heterogeneous architecture that can support a wider range of

software programs.

       77.      The claimed advance to which claim 4 was directed was a computer that can

execute a far larger number of operations per period than a conventional computer, while

supporting software programs that require operations to be performed on numbers having high

dynamic range, by:

             a. adding to a computer at least one LPHDR unit, each LPHDR unit manipulating

                numbers having a range of at least 1,000,000 to 1/1,000,000, and each LPHDR

                unit’s operations being imprecise by at least 0.2% for at least 10% of its possible

                inputs;

             b. further incorporating another computing device that controls the operation of the

                one or more LPHDR execution units.

       78.      The representative claims themselves do not recite the functions or results they

achieve, but rather each recites a concrete structure or architecture for achieving those particular

functions or results. The representative claims are thus not simply directed to the results

themselves or to any (and every) way of achieving those results, but to specific structures or




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architectures that depart from earlier approaches to solving specific computer architecture

problems.

       79.     The representative claims recite specific architectures that accomplish the desired

results. The claimed inventions are directed to specific improvements in the capabilities of

computing devices, and to improvements in the way computers carry out their basic functions

(e.g., basic functions such as, using the computer’s available transistors to enable software to

perform computational operations).

       80.     For the reasons described above at ¶¶ 44-46, 61-63 and 76-78, the claimed

structures or architectures Dr. Bates devised to provide more efficient use of a computer’s

transistors and to perform an increased number of operations per period while supporting

software programs that require operations to be performed on numbers having high dynamic

range, were not in 2009 among the conventional or routine ways to accomplish those results.



                                         COUNT I
                (Google’s Infringement of United States Patent No. 8,407,273)

       81.     Paragraphs [1-80] are reincorporated by reference as if fully set forth herein.

       82.     The ’273 patent addresses, inter alia, the aforementioned technological problem

of a computer making inefficient use of its transistors.

       83.     The ’273 patent teaches a technological solution to this problem in the form of

novel, unconventional and counterintuitive computer architectures that include, inter alia, the

following:

               (i)     at least one LPHDR execution unit (e.g., a processing element) that:




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                      a. accepts input signals representing numerical values, that each have a

                       dynamic range that is at least as wide as from 1,000,000 to 1/1,000,000,

                       and

                      b. produces output signals representing numerical values, in response to

                       requested arithmetic operations, that differ by at least 0.05% from their

                       respective exact results for at least 5% of all possible valid such requested

                       operations; and,

               (ii)    a number of LPHDR execution units that exceeds by at least 100 the

               number of higher precision (e.g., 32 bit) floating point multiplication processing

               elements.

Dr. Bates’ patented architectures solve the aforementioned problem of inefficient transistor use.

Dr. Bates’ LPHDR processing elements utilize a far smaller number of transistors per operation

than the high-precision processing elements of conventional computer architectures. This

difference in the required number of transistors per operation creates the opportunity to pack into

a computer having a normal number of transistors (e.g., several billion transistors) a very large

number of LPHDR processing elements that can collectively perform a number of multiplication

operations per period that is many multiples larger than the number of multiplication operations

per period provided by a conventionally architected computer having similar physical

characteristics (i.e., in terms of its number of transistors, its semiconductor fabrication process,

power draw, etc.).    A computer utilizing Dr. Bates’ novel architecture achieves the advantage of

executing a larger number of operations per period than a conventional computer while

supporting software programs that require operations to be performed on numbers having high

dynamic range.



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        84.      Dr. Bates’ architectural solution to the aforementioned problem of inefficient

transistor usage represented a fundamentally new, unconventional and novel approach to

computer architecture. Dr. Bates’ patented architectural solutions were not obvious, or

conventional to one of ordinary skill in the art at the time of the invention. Conventional

computer architectures, for example, even when intended for execution of AI software programs,

did not include the concept of a computer based on a large number of low precision high

dynamic range (LPHDR) processing elements. Prior to Dr. Bates’ invention, such a computer

did not exist.

        85.      Computer architects as of 2009 taught away from Dr. Bates’ invention. Dr.

Bates’ LPHDR processing elements frequently generate, in response to requests to perform

arithmetic operations on high dynamic range numbers, results that materially differ from the

exact results of those operations. For example, the ’273 patent teaches an LPHDR processing

element that can generate results in response to requested arithmetic operations that differ by at

least 0.05% from their respective exact results, for at least 5% of all possible valid such

requested operations. It would have been counterintuitive to those in the art as of 2009, to

architect a computer from even one such frequently inexact LPHDR processing element, let

alone a large number of LPHDR processing elements that were all frequently generating such

materially inexact results for a given software program. It was counterintuitive to architect a

computer comprising numerous LPHDR processing elements that each were frequently

generating materially inexact results, knowing that such a computer was going to be used by

software programs to execute many tasks that each required hundreds, thousands or even

millions of sequential arithmetic operations that could accumulate errors. Dr. Bates nonetheless

conceived, made and patented a working computer utilizing such LPHDR processing elements.



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       86.     The ’273 patent ushered in a revolutionary increase in computer efficiency

through improved computer architectures. Its claims specify architectural features pertaining to a

computer design, including LPHDR processing elements, and heterogeneous computers based on

particular ratios of LPHDR processing elements to conventional higher precision processing

elements.

       87.     Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claims 17, 18, 52 and 53 of the ’273 patent by making,

using, testing, selling, offering for sale and/or importing into the United States its TPUv2 and

TPUv3 Devices alone or in combination with its existing data servers. Google’s computer

systems that infringe the ’273 patent include the TPUv2 and TPUv3 Devices. The infringing

TPUv2 and TPUv3 Devices, in Google’s own words, power at least Google Translate, Photos,

Search, Assistant, and Gmail, as published by Google:




       88.     Claim 53 of the ’273 patent is reproduced below:

               A device:
               comprising at least one first low precision high-dynamic range
               (LPHDR) execution unit adapted to execute a first operation on a first input
               signal representing a first numerical value to produce a first output signal
               representing a second numerical value,
               wherein the dynamic range of the possible valid inputs to the first operation is at


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               least as wide as from 1/1,000,000 through 1,000,000 and for at least X=5% of the
               possible valid inputs to the first operation, the statistical mean, over repeated
               execution of the first operation on each specific input from the at least X % of the
               possible valid inputs to the first operation, of the numerical values represented by
               the first output signal of the LPHDR unit executing the first operation on that
               input differs by at least Y=0.05% from the result of an exact mathematical
               calculation of the first operation on the numerical values of that same input;
               wherein the number of LPHDR execution units in the device exceeds by at least
               one hundred the non-negative integer number of execution units in the device
               adapted to execute at least the operation of multiplication on floating point
               numbers that are at least 32 bits wide.

       89.     A TPUv2 and a TPUv3 Device are examples of a “device,” as claimed by the ’273

patent. As published by Google:




       90.     Each TPUv2 and TPUv3 Device infringes claim 53 of the ’273 patent, by inter

alia, including over 100,000 matrix multiplication unit (MXU) arithmetic logic units (ALUs) and

associated circuitry.




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  a. Each TPUv2 Device has 8 MXUs (one MXU per TPU core, 2 TPU cores per

     chip, and 4 chips per TPUv2 Device), and each TPUv3 Device has 16 MXUs (two

     MXUs per TPU core, 2 TPU cores per chip, and 4 chips per TPUv3 Device). As

     published by Google:




  b. Each MXU contains a systolic array having 128 X 128 MXU ALUs (i.e., 16,384

     ALUs). A TPUv2 Device has 131,072 MXU ALUs and a TPUv3 Device has

     262,144 MXU ALUs. As published by Google:




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  c. Each of those one-hundred-thousand-plus ALUs is adapted to execute a

     multiplication operation on a value that was converted to a “bfloat16” format after

     being taken as input in 32-bit floating point format (“FP32 format” or “float32”).

     The circuitry for taking a float32 input signal, converting it to a bfloat16 value,

     and then multiplying the value, is hereinafter an “MXU Reduced Precision

     Multiply Cell.” An MXU Reduced Precision Multiply Cell comprises the part of

     an MXU ALU that performs a multiplication operation, and circuitry for taking a

     float32 input signal and converting it to a bfloat16 value. As published by Google:




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       91.     Over 100,000 individual MXU Reduced Precision Multiply Cells are in each

TPUv2 and TPUv3 Device. Each individual MXU Reduced Precision Multiply Cell is a “low

precision high-dynamic range (LPHDR) execution unit adapted to execute a first operation on a

first input signal representing a first numerical value to produce a first output signal

representing a second numerical value.” The “first operation” executed by each individual

MXU Reduced Precision Multiply Cell is a multiplication operation that is (i) performed on two

input signals each representing a float32 numerical value, but (ii) carried out at “reduced

bfloat16 precision.” Such an operation (e.g., “X[2,0]*W[0,0]” in the example equation for

Y[2,0] that Google provides below) is a part of a larger float32 matrix multiplication operation

(e.g., Y= X*W in the example Google provides below) being performed at “reduced bfloat16

precision” by the MXU as a whole. As published by Google:




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       92.     The “first input signal” for each individual MXU Reduced Precision Multiply

Cell is the signal representing a float32 value from inside either matrix that is being multiplied

by the MXU. In the illustration below taken from a Google animation, such input signals are

depicted using the red dots moving rightwards into the left of the MXU and its Reduced

Precision Multiply Cells. Such input signals are also depicted in the same Google animation

using the black/grey dots moving upwards into the bottom of the MXU and its Reduced

Precision Multiply Cells. The “first output signal” produced by an MXU Reduced Precision

Multiply Cell is the result of the float32 multiplication operation it performs at reduced bfloat16


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precision. Such a “first output signal” flows from the multiplier “x” to the adjacent adder “+” in

one of the Google illustrations below and is described as a result. In Google’s own words, “as

each multiplication is executed, the result will be passed to the next multipliers while taking

summation at the same time.” As published by Google:




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       93.     The “first numerical value” represented by the “first input signal,” and the

“second numerical value” represented by the “first output signal,” are all float32 numbers.

Float32 numbers are “numerical values.” As published by Google:




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       94.      Each MXU Reduced Precision Multiply Cell is an “LPHDR execution unit.”

Specifically:

      For each MXU Reduced Precision Multiply Cell, “the dynamic range of the possible

       valid inputs to the first operation is at least as wide as from 1/1,000,000 through

       1,000,000.” As shown above, each MXU Reduced Precision Multiply Cell performs a


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    float32 multiplication operation at “reduced bfloat16 precision” on valid input signals

    representing numerical values having a float32 format. A float32 numerical value, whose

    format is shown below, has the following dynamic range:

           Minimum: 2−126 ≈ 1.175494351 × 10−38

           Maximum: (2 - 2−23) × 2127 ≈ 3.402823466 × 1038

                                 As published by Google:




   For each MXU Reduced Precision Multiply Cell, “for at least X=5% of the possible valid

    inputs to the first operation… the numerical values represented by the first output signal

    of the LPHDR unit executing the first operation on that input differs by at least Y=0.05%

    from the result of an exact mathematical calculation of the first operation on the

    numerical values of that same input.” Specifically, each TPUv2 and TPUv3 MXU

    Reduced Precision Multiply Cell performs a float32 multiplication operation but does so

    in Google’s own words at “reduced bfloat16 precision.” Each MXU Reduced Precision

    Multiply Cell takes the following steps: (i) receives as input two signals that each

    represent a float32 numerical value, (ii) converts each of the received float32 numerical



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values to a bfloat16 numerical value, (iii) multiplies the resulting pair of bfloat16

numerical values with each other, and (iv) adjusts the format of the result of the bfloat16

multiplication generated in step (iii), if needed, to produce an output signal that

represents a float32 numerical value to be accumulated. As published by Google:




When the float32 numerical values produced by the TPU’s float32 multiplication

operation (which, as shown above, is performed at “reduced bfloat16 precision”), for a

mathematically representative sample of all possible valid pairs of inputted float32

numerical values, are compared to the numerical values produced by the exact full

precision multiplication operations for those same respective valid pairs of inputted

float32 numerical values, the TPU’s float32 numerical values differ, for at least 5% of

those multiplied pairs, from the respective exact full precision values, by at least 0.05%.

This is illustrated by the Singular test results shown below.




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      For each MXU Reduced Precision Multiply Cell, “the statistical mean, over repeated

       execution of the first operation on each specific input from the at least X % of the

       possible valid inputs to the first operation, of the numerical values represented by the

       first output signal of the LPHDR unit executing the first operation on that input,” will

       simply equal the numerical value represented by the output signal produced when the

       MXU Reduced Precision Multiply Cell (i.e., an LPHDR unit) executes an operation on

       input signals. Each MXU Reduced Precision Multiply Cell is part of a TPUv2 Device or

       a TPUv3 Device, which are deterministic in their designs (i.e., an operation repeatedly

       performed by a TPUv2 or a TPUv3 Device on a given set of inputs signals will always

       yield the same output signal). As published by Google:




       95.     In each TPUv2 and each TPUv3 Device, “the number of LPHDR execution

units in the device exceeds by at least one hundred the non-negative integer number of execution

units in the device adapted to execute at least the operation of multiplication on floating point

numbers that are at least 32 bits wide.” As shown above, a TPUv2 Device has 8 MXUs, a

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TPUv3 has 16 MXUs, and each MXU has 16,384 MXU Reduced Precision Multiply Cells. As

also shown above, each MXU Reduced Precision Multiply Cell is an LPHDR execution unit that

performs a float32 multiplication operation at “reduced bfloat16 precision.” Therefore, each

TPUv2 Device has at least 131,072 MXU Reduced Precision Multiply Cells that are each

LPHDR execution units, and each TPUv3 has at least 262,144 MXU Reduced Precision Multiply

Cells that are each LPHDR execution units. By contrast, there are far fewer execution units

adapted to execute the operation of multiplication on floating point numbers that are at least 32

bits wide, on TPUv2 or TPUv3 Devices, since:

      the MXU delivers the “bulk” of a TPU Device’s overall arithmetic computation

       capability. As published by Google:




      the MXU Reduced Precision Multiply Cells, in performing float32 multiplication

       operations at “reduced bfloat16 precision,” do not “execute the operation of

       multiplication on floating point numbers that are at least 32 bits wide.” Arithmetic

       (including multiplication) on floating point numbers that are at least 32 bits wide is

       defined in Singular’s patents as “high dynamic range arithmetic of traditional precision.”

       The float32 multiplication operation of an MXU Reduced Precision Multiply Cell is

       performed at “reduced bfloat16 precision,” which entails performing multiplication on

       floating point numbers that are 16 bits wide. Therefore, the MXU Reduced Precision

       Multiply Cells themselves do not “execute the operation of multiplication on floating

       point numbers that are at least 32 bits wide.” As published by Google:

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As affirmed by Dr. Patterson of Google at a lecture presented at the MIT Computer

Science and Artificial Intelligence Lab on October 16, 2019, there is roughly a 10:1 ratio

of multipliers in MXU versus VPU. The number of MXU Reduced Precision Multiply

Cells (i.e., LPHDR execution units, as shown above) in each TPUv2 Device and TPUv3

Device (i.e., 131,072 for a TPUv2 Device or 262,144 for a TPUv3 Device) far exceeds

the number of execution units in those same TPUv2 and TPUv3 Devices adapted to

execute multiplication on floating point numbers that are at least 32 bits wide (roughly

13,107 for a TPUv2 Device, and roughly 26,214 for a TPUv3 Device). As published by

Google:




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       96.     In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       97.     As a result of Google’s infringement of the ’273 patent, Singular has suffered

damages in an amount to be determined at trial.


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                                        COUNT II
                (Google’s Infringement of United States Patent No. 9,218,156)

       98.     Paragraphs [1-97] are reincorporated by reference as if fully set forth herein.

       99.     The ’156 patent addresses, inter alia, the aforementioned technological problem

of a computer making inefficient use of its transistors.

       100.    The ’156 patent teaches a technological solution to this problem in the form of

novel, unconventional and counterintuitive computer architectures that include, inter alia, the

following:

       (i)     At least one LPHDR execution unit (e.g., a processing element) that:

                     a. accepts input signals representing numerical values, that each have a

                       dynamic range that is at least as wide as from 1,000,000 to 1/1,000,000,

                       and

                     b. produces output signals representing numerical values, in response to

                       requested arithmetic operations, which differ by at least 0.05% different

                       from their respective exact results for at least 5% of all possible valid such

                       requested operations;

       (ii)    a computing device adapted to control the operation of the one or more LPHDR

               execution units; and,

       (iii)   a number of LPHDR execution units that exceeds by at least 100 the number of

               higher precision (e.g., 32 bit) floating point multiplication processing elements.

Dr. Bates’ patented architectures solve the aforementioned problem of inefficient transistor use.

Dr. Bates’ LPHDR processing elements utilize a far smaller number of transistors per operation

than the high-precision processing elements of conventional computer architectures. This

difference in the required number of transistors per operation creates the opportunity to pack into


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a computer having a normal number of transistors (e.g., several billion transistors) a very large

number of LPHDR processing elements that can collectively perform a number of multiplication

operations per period that is many multiples larger than the number of multiplication operations

per period provided by a conventionally architected computer having similar physical

characteristics (i.e., in terms of its number of transistors, its semiconductor fabrication process,

power draw, etc.). A computer utilizing Dr. Bates’ novel architecture achieves the advantage of

executing a far larger number of operations per period than a conventional computer while

supporting software programs that require operations to be performed on numbers having high

dynamic range.

       101.    Dr. Bates’ architectural solution to the aforementioned problem of inefficient

transistor usage represented a fundamentally new and unconventional approach to computer

architecture. Dr. Bates’ patented architecture was not obvious, or conventional to one of

ordinary skill in the art at the time of the invention. Conventional computer architectures, for

example, even when intended for execution of AI software programs, did not include the concept

of a computer based on low precision high dynamic range (LPHDR) processing elements.

Computer architects even taught away from this concept. Prior to Dr. Bates’ invention, such a

computer did not exist.

       102.    Computer architects as of 2009 taught away from Dr. Bates’ invention. Dr.

Bates’ LPHDR processing elements frequently generate, in response to requests to perform

arithmetic operations on high dynamic range numbers, results that materially differ from the

exact results of those operations. For example, the ’156 patent teaches an LPHDR processing

element that can generate results in response to requested arithmetic operations that differ by at

least 0.05% from their respective exact results, for at least 5% of all possible valid such



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requested operations. It would have been counterintuitive to those in the art as of 2009, to

architect a computer from even one such frequently inexact LPHDR processing element, let

alone a large number of LPHDR processing elements that were all frequently generating such

materially inexact results for a given software program. It was counterintuitive to architect a

computer comprising numerous LPHDR processing elements that each frequently generate

inexact results, knowing that such a computer was going to be used by software programs to

execute many tasks that each required hundreds, thousands or even millions of sequential

arithmetic operations that could accumulate errors. Dr. Bates nonetheless conceived, made and

patented a working computer utilizing such LPHDR processing elements.

       103.    The ’156 patent ushered in a revolutionary increase in computer efficiency

through improved computer architectures. Its claims specify architectural features pertaining to a

computer design, including LPHDR processing elements, a computing device that is adapted to

control the operation of the LPHDR execution units, and heterogeneous computers based on

particular ratios of LPHDR processing elements to conventional higher precision processing

elements.

       104.    Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claims 6, 7, 21 and 22 of the ’156 patent by making, using,

testing, selling, offering for sale and/or importing into the United States its TPUv2 and TPUv3

Devices alone or in combination with its existing data servers. Google’s computer systems that

infringe the ’156 patent include the TPUv2 and TPUv3 Devices. The infringing TPUv2 and

TPUv3 Devices, in Google’s own words, “powers” at least Google Translate, Photos, Search,

Assistant, and Gmail. As published by Google:




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       105.   Claim 7 of the ’156 patent is reproduced below:

              A device comprising:
              at least one first low precision high-dynamic range (LPHDR) execution
              unit adapted to execute a first operation on a first input signal representing a first
              numerical value to produce a first output signal representing a second numerical
              value,
              wherein the dynamic range of the possible valid inputs to the first operation is at
              least as wide as from 1/1,000,000 through 1,000,000 and for at least X=5% of the
              possible valid inputs to the first operation, the statistical mean, over repeated
              execution of the first operation on each specific input from the at least X % of the
              possible valid inputs to the first operation, of the numerical values represented by
              the first output signal of the LPHDR unit executing the first operation on that
              input differs by at least Y=0.05% from the result of an exact mathematical
              calculation of the first operation on the numerical values of that same input; and
              at least one first computing device adapted to control the operation of the at least
              one first LPHDR execution unit
              wherein the at least one first computing device comprises at least one of a central
              processing unit (CPU), a graphics processing unit (GPU), a field programmable
              gate array (FPGA), a microcode-based processor, a hardware sequencer, and a
              state machine; and,
              wherein the number of LPHDR execution units in the device exceeds by at least
              one hundred the non-negative integer number of execution units in the device
              adapted to execute at least the operation of multiplication on floating point
              numbers that are at least 32 bits wide.

       106.   A TPUv2 or a TPUv3 Device are examples of a “device,” as claimed by the ’156

patent. As published by Google:




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        107.    Each TPUv2 Device and TPUv3 Device infringes claim 7 of the ’156 patent by,

inter alia, including over 100,000 matrix multiplication unit (MXU) ALUs and associated

circuitry.

             a. Each TPUv2 Device has 8 MXUs (one MXU per TPU core, 2 TPU cores per

                chip, and 4 chips per TPUv2 Device), and each TPUv3 Device has 16 MXUs (two

                MXUs per TPU core, 2 TPU cores per chip, and 4 chips per TPUv3 Device). As

                published by Google:




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  b. Each MXU contains a systolic array having 128 X 128 MXU ALUs (i.e., 16,384

     ALUs). Therefore, a TPUv2 Device has 131,072 MXU ALUs and a TPUv3

     Device has 262,144 MXU ALUs. As published by Google:




  c. Each of those one-hundred-thousand-plus ALUs is adapted to execute a

     multiplication operation on a value that was converted to a “bfloat16” format after

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               being taken as input in 32-bit floating point format (“FP32 format” or “float32”).

               The circuitry for taking a float32 input signal, converting it to a bfloat16 value,

               and then multiplying the value, is hereinafter an “MXU Reduced Precision

               Multiply Cell.” An MXU Reduced Precision Multiply Cell comprises the part of

               an MXU ALU that performs a multiplication operation, and circuitry for taking a

               float32 input signal and converting it to a bfloat16 value. As published by Google:




       108.    Over 100,000 individual MXU Reduced Precision Multiply Cells are in each

TPUv2 and TPUv3 Device. Each individual MXU Reduced Precision Multiply Cell is a “low

precision high-dynamic range (LPHDR) execution unit adapted to execute a first operation on a

first input signal representing a first numerical value to produce a first output signal

representing a second numerical value.” The “first operation” executed by each individual

MXU Reduced Precision Multiply Cell is a multiplication operation that is (i) performed on two

input signals each representing a float32 numerical value, but (ii) carried out at “reduced

bfloat16 precision.” Such an operation (e.g., “X[2,0]*W[0,0]” in the example equation for

Y[2,0] that Google provides below) is a part of a larger float32 matrix multiplication operation



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(e.g., Y= X*W in the example Google provides below) being performed at “reduced bfloat16

precision” by the MXU as a whole. As published by Google:




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       109.    The “first input signal” for each individual MXU Reduced Precision Multiply

Cell is the signal representing a float32 value from inside either matrix that is being multiplied

by the MXU. In the illustration below taken from a Google animation, such input signals are

depicted using the red dots moving rightwards into the left of the MXU and its Reduced

Precision Multiply Cells. Such input signals are also depicted in the same Google animation

using the black/grey dots moving upwards into the bottom of the MXU and its Reduced

Precision Multiply Cells. The “first output signal” produced by an MXU Reduced Precision

Multiply Cell is the result of the float32 multiplication operation it performs at reduced bfloat16

precision. Such a “first output signal” flows from the multiplier “x” to the adjacent adder “+” in

the illustration below, and is described as a “result” in Google’s own words: “As each

multiplication is executed, the result will be passed to the next multipliers while taking

summation at the same time.” As published by Google:




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       110.    The “first numerical value” represented by the “first input signal,” and the

“second numerical value” represented by the “first output signal,” are all float32 numbers.

Float32 numbers are “numerical values.” As published by Google:




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       111.     Each MXU Reduced Precision Multiply Cell is an “LPHDR execution unit.”

Specifically:

      For each MXU Reduced Precision Multiply Cell, “the dynamic range of the possible

       valid inputs to the first operation is at least as wide as from 1/1,000,000 through

       1,000,000.” As shown above, each MXU Reduced Precision Multiply Cell performs a

       float32 multiplication operation at “reduced bfloat16 precision” on valid input signals

       representing numerical values having a float32 format. A float32 numerical value, whose

       format is shown below, has the following dynamic range:

                Minimum: 2−126 ≈ 1.175494351 × 10−38

                Maximum: (2 - 2−23) × 2127 ≈ 3.402823466 × 1038

                                    As published by Google:




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   For each MXU Reduced Precision Multiply Cell, “for at least X=5% of the possible valid

    inputs to the first operation… the numerical values represented by the first output signal

    of the LPHDR unit executing the first operation on that input differs by at least Y=0.05%

    from the result of an exact mathematical calculation of the first operation on the

    numerical values of that same input.” Specifically, each TPUv2 and TPUv3 MXU

    Reduced Precision Multiply Cell performs a float32 multiplication operation but does so

    in Google’s own words at “reduced bfloat16 precision.” Each MXU Reduced Precision

    Multiply Cell takes the following steps: (i) receives as input two signals that each

    represent a float32 numerical value, (ii) converts each of the received float32 numerical

    values to a bfloat16 numerical value, (iii) multiplies the resulting pair of bfloat16

    numerical values with each other, and (iv) adjusts the format of the result of the bfloat16

    multiplication generated in step (iii), if needed, to produce an output signal that

    represents a float32 numerical value to be accumulated. As published by Google:




    When the float32 numerical values produced by the TPU’s float32 multiplication

    operation (which, as shown above, is performed at “reduced bfloat16 precision”), for a

    mathematically representative sample of all possible valid pairs of inputted float32

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    numerical values, are compared to the numerical values produced by the exact full

    precision multiplication operations for those same respective valid pairs of inputted

    float32 numerical values, the TPU’s float32 numerical values differ, for at least 5% of

    those multiplied pairs, from the respective exact full precision values, by at least 0.05%.

    This is illustrated by the Singular test results shown below.




   For each MXU Reduced Precision Multiply Cell, “the statistical mean, over repeated

    execution of the first operation on each specific input from the at least X % of the

    possible valid inputs to the first operation, of the numerical values represented by the

    first output signal of the LPHDR unit executing the first operation on that input,” will

    simply equal the numerical value represented by the output signal produced when the

    MXU Reduced Precision Multiply Cell (i.e., an LPHDR unit) executes an operation on

    input signals. Each MXU Reduced Precision Multiply Cell is part of a TPUv2 Device or

    a TPUv3 Device, which are deterministic in their designs (i.e., an operation repeatedly

    performed by a TPUv2 or a TPUv3 Device on a given set of inputs signals will always

    yield the same output signal). As published by Google:




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       112.   Each TPUv2 and TPUv3 Device has “a computing device adapted to control the

operation of the at least one first LPHDR execution unit,” and that computing device “comprises

at least … a central processing unit (CPU).” The computing device is the CPU running the Host

VM, which is the “master” VM that runs the controlling software program (e.g., as set out below,

“your Python code,” “your training job”, or “machine learning workloads”). The controlling

software program “drives the TensorFlow server” (i.e., a TPU VM) which runs on a “TPU

worker,” or “TPU accelerator,” which is a TPUv2 or TPUv3 Device. As explained above, a

TPUv2 or TPUv3 Device includes LPHDR execution units. As published by Google:




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       113.    In each TPUv2 and each TPUv3 Device, “the number of LPHDR execution

units in the device exceeds by at least one hundred the non-negative integer number of execution

units in the device adapted to execute at least the operation of multiplication on floating point

numbers that are at least 32 bits wide.” As shown above, a TPUv2 Device has 8 MXUs, a

TPUv3 has 16 MXUs, and each MXU has 16,384 MXU Reduced Precision Multiply Cells. As

also shown above, each MXU Reduced Precision Multiply Cell is an LPHDR execution unit that

performs a float32 multiplication operation at “reduced bfloat16 precision.” Therefore, each

TPUv2 Device has at least 131,072 MXU Reduced Precision Multiply Cells that are each

LPHDR execution units, and each TPUv3 has at least 262,144 MXU Reduced Precision Multiply


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Cells that are each LPHDR execution units. By contrast, there are far fewer execution units

adapted to execute the operation of multiplication on floating point numbers that are at least 32

bits wide, on TPUv2 or TPUv3 Devices, since:

      the MXU delivers the “bulk” of a TPU Device’s overall arithmetic computation

       capability. As published by Google:




      the MXU Reduced Precision Multiply Cells, in performing float32 multiplication

       operations at “reduced bfloat16 precision,” do not “execute the operation of

       multiplication on floating point numbers that are at least 32 bits wide.” Arithmetic

       (including multiplication) on floating point numbers that are at least 32 bits wide is

       defined in Singular’s patents as “high dynamic range arithmetic of traditional precision.”

       The float32 multiplication operation of an MXU Reduced Precision Multiply Cell is

       performed at “reduced bfloat16 precision,” which entails performing multiplication on

       floating point numbers that are 16 bits wide. Therefore, the MXU Reduced Precision

       Multiply Cells themselves do not “execute the operation of multiplication on floating

       point numbers that are at least 32 bits wide.” As published by Google:




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As affirmed by Dr. Patterson of Google at a lecture presented at the MIT Computer

Science and Artificial Intelligence Lab on October 16, 2019, there is roughly a 10:1 ratio

of multipliers in MXU versus VPU. The number of MXU Reduced Precision Multiply

Cells (i.e., LPHDR execution units, as shown above) in each TPUv2 Device and TPUv3

Device (i.e., 131,072 for a TPUv2 Device or 262,144 for a TPUv3 Device) far exceeds

the number of execution units in those same TPUv2 and TPUv3 Devices adapted to

execute multiplication on floating point numbers that are at least 32 bits wide (roughly

13,107 for a TPUv2 Device, and roughly 26,214 for a TPUv3 Device). As published by

Google:




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       114.    In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       115.    As a result of Google’s infringement of the ’156 patent, Singular has suffered

damages in an amount to be determined at trial.



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                                        COUNT III
               (Google’s Infringement of United States Patent No. 10,416,961)

       116.    Paragraphs [1-115] are reincorporated by reference as if fully set forth herein.

       117.    The ’961 patent addresses, inter alia, the aforementioned technological problem

of a computer making inefficient use of its transistors.

       118.    The ’961 patent teaches a technological solution to this problem in the form of

novel, unconventional and counterintuitive computer architectures that include, inter alia, the

following:

       (i)     At least one LPHDR execution unit (e.g., a processing element) that:

               a. accepts input signals representing numerical values, that each have a dynamic

                   range that is at least as wide as from 1,000,000 to 1/1,000,000, and

               b. produces output signals representing numerical values, in response to

                   requested arithmetic operations, which differ by at least 0.2% from their

                   respective exact results for at least 10% of all possible valid such requested

                   operations; and,

       (ii)    a computing device adapted to control the operation of the one or more LPHDR

               execution units.

Dr. Bates’ patented architectures solve the aforementioned problem of inefficient transistor use.

Dr. Bates’ LPHDR processing elements utilize a far smaller number of transistors per operation

than the high-precision processing elements of conventional computer architectures. This

difference in the required number of transistors per operation creates the opportunity to pack into

a computer having a normal number of transistors (e.g., several billion transistors) a very large

number of LPHDR processing elements that can collectively perform a number of multiplication

operations per period that is many multiples larger than the number of multiplication operations


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per period provided by a conventionally architected computer having similar physical

characteristics (i.e., in terms of its number of transistors, its semiconductor fabrication process,

power draw, etc.). A computer utilizing Dr. Bates’ novel architecture achieves the advantage of

executing a far larger number of operations per period than a conventional computer while

supporting software programs that require operations to be performed on numbers having high

dynamic range.

       119.    Dr. Bates’ architectural solution to the aforementioned problem of inefficient

transistor usage represented a fundamentally new and unconventional approach to computer

architecture. Dr. Bates’ patented architecture was not obvious, or conventional to one of

ordinary skill in the art at the time of the invention. Conventional computer architectures, for

example, even when intended for execution of AI software programs, did not include the concept

of a computer based on low precision high dynamic range (LPHDR) processing elements.

Computer architects even taught away from this concept. Prior to Dr. Bates’ invention, such a

computer did not exist.

       120.    Computer architects as of 2009 taught away from Dr. Bates’ invention. Dr.

Bates’ LPHDR processing elements frequently generate, in response to requests to perform

arithmetic operations on high dynamic range numbers, results that materially differ from the

exact results of those operations. For example, the ’961 patent teaches an LPHDR processing

element that can generate results in response to requested arithmetic operations that differ by at

least 0.2% from their respective exact results, for at least 10% of all possible valid such

requested operations. It would have been counterintuitive to those in the art as of 2009, to

architect a computer from even one such frequently inexact LPHDR processing element, let

alone a large number of LPHDR processing elements that were all frequently generating such



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materially inexact results for a given software program. It was counterintuitive to architect a

computer comprising numerous LPHDR processing elements that each frequently generate

inexact results, knowing that such a computer was going to be used by software programs to

execute many tasks that each required hundreds, thousands or even millions of sequential

arithmetic operations that could accumulate errors. Dr. Bates nonetheless conceived, made and

patented a working computer utilizing such LPHDR processing elements.

       121.    The ’961 patent ushered in a revolutionary increase in computer efficiency

through improved computer architectures. Its claims specify architectural features pertaining to

a computer design, including LPHDR processing elements, and a computing device that is

adapted to control the operation of the LPHDR execution units.

       122.    Google has directly infringed, and continues to directly infringe, literally and/or

by the doctrine of equivalents, at least claims 1-5, 10, 13, 14 and 15 of the ’961 patent by

making, using, testing, selling, offering for sale and/or importing into the United States its

TPUv2 and TPUv3 Devices alone or in combination with its existing data servers. Google’s

computer systems that infringe the ’961 patent include the TPUv2 and TPUv3 Devices. The

infringing TPUv2 and TPUv3 Devices, in Google’s own words, “powers” at least Google

Translate, Photos, Search, Assistant, and Gmail. As published by Google:




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       123.   Claim 4 of the ’961 patent is reproduced below:

              A device comprising:
              at least one first low precision high-dynamic range (LPHDR) execution
              unit adapted to execute a first operation on a first input signal representing a first
              numerical value to produce a first output signal representing a second numerical
              value,
              wherein the dynamic range of the possible valid inputs to the first operation is at
              least as wide as from 1/1,000,000 through 1,000,000 and for at least X=10% of
              the possible valid inputs to the first operation, the statistical mean, over repeated
              execution of the first operation on each specific input from the at least X % of the
              possible valid inputs to the first operation, of the numerical values represented by
              the first output signal of the LPHDR unit executing the first operation on that
              input differs by at least Y=0.2% from the result of an exact mathematical
              calculation of the first operation on the numerical values of that same input;
              at least one first computing device adapted to control the operation of the at least
              one first LPHDR execution unit;

       124.   A TPUv2 or a TPUv3 Device are examples of a “device,” as claimed by the ’961

patent. As published by Google:




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       125.   Each TPUv2 Device and TPUv3 Device infringes claim 4 of the ’961 patent, by

inter alia, including multiple matrix multiplication unit (MXU) ALUs and associated circuitry.

           a. Each TPUv2 Device has 8 MXUs (one MXU per TPU core, 2 TPU cores per

              chip, and 4 chips per TPUv2 Device), and each TPUv3 Device has 16 MXUs (two

              MXUs per TPU core, 2 TPU cores per chip, and 4 chips per TPUv3 Device). As

              published by Google:




           b. Each MXU contains a systolic array having 128 X 128 MXU ALUs (i.e., 16,384

              ALUs). Therefore, a TPUv2 Device has 131,072 MXU ALUs and a TPUv3

              Device has 262,144 MXU ALUs. As published by Google:



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          c. Each of those one-hundred-thousand-plus ALUs is adapted to execute a

              multiplication operation on a value that was converted to a “bfloat16” format after

              being taken as input in 32-bit floating point format (“FP32 format” or “float32”).

              The circuitry for taking a float32 input signal, converting it to a bfloat16 value,

              and then multiplying the value, is hereinafter an “MXU Reduced Precision

              Multiply Cell.” An MXU Reduced Precision Multiply Cell comprises the part of

              an MXU ALU that performs a multiplication operation, and circuitry for taking a

              float32 input signal and converting it to a bfloat16 value. As published by Google:




       126.   Over 100,000 individual MXU Reduced Precision Multiply Cells are in each

TPUv2 and TPUv3 Device. Each individual MXU Reduced Precision Multiply Cell is a “low

precision high-dynamic range (LPHDR) execution unit adapted to execute a first operation on a


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first input signal representing a first numerical value to produce a first output signal

representing a second numerical value.” The “first operation” executed by each individual

MXU Reduced Precision Multiply Cell is a multiplication operation that is (i) performed on two

input signals each representing a float32 numerical value, but (ii) carried out at “reduced

bfloat16 precision.” Such an operation (e.g., “X[2,0]*W[0,0]” in the example equation for

Y[2,0] that Google provides below) is a part of a larger float32 matrix multiplication operation

(e.g., Y= X*W in the example Google provides below) being performed at “reduced bfloat16

precision” by the MXU as a whole. As published by Google:




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       127.    The “first input signal” for each individual MXU Reduced Precision Multiply

Cell is the signal representing a float32 value from inside either matrix that is being multiplied

by the MXU. In the illustration below taken from a Google animation, such input signals are

depicted using the red dots moving rightwards into the left of the MXU and its Reduced

Precision Multiply Cells. Such input signals are also depicted in the same Google animation

using the black/grey dots moving upwards into the bottom of the MXU and its Reduced

Precision Multiply Cells. The “first output signal” produced by an MXU Reduced Precision

Multiply Cell is the result of the float32 multiplication operation it performs at reduced bfloat16

precision. Such a “first output signal” flows from the multiplier “x” to the adjacent adder “+” in

the illustration below, and is described as a “result” in Google’s own words: “As each


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multiplication is executed, the result will be passed to the next multipliers while taking

summation at the same time.” As published by Google:




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       128.    The “first numerical value” represented by the “first input signal,” and the

“second numerical value” represented by the “first output signal,” are all float32 numbers.

Float32 numbers are “numerical values.” As published by Google:




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       129.     Each MXU Reduced Precision Multiply Cell is an “LPHDR execution unit.”

Specifically:

      For each MXU Reduced Precision Multiply Cell, “the dynamic range of the possible

       valid inputs to the first operation is at least as wide as from 1/1,000,000 through

       1,000,000.” As shown above, each MXU Reduced Precision Multiply Cell performs a

       float32 multiplication operation at “reduced bfloat16 precision” on valid input signals

       representing numerical values having a float32 format. A float32 numerical value, whose

       format is shown below, has the following dynamic range:

                Minimum: 2−126 ≈ 1.175494351 × 10−38

                Maximum: (2 - 2−23) × 2127 ≈ 3.402823466 × 1038

                                    As published by Google:


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   For each MXU Reduced Precision Multiply Cell, “for at least X=10% of the possible

    valid inputs to the first operation… the numerical values represented by the first output

    signal of the LPHDR unit executing the first operation on that input differs by at least

    Y=0.2% from the result of an exact mathematical calculation of the first operation on the

    numerical values of that same input.” Specifically, each TPUv2 and TPUv3 MXU

    Reduced Precision Multiply Cell performs a float32 multiplication operation but does so

    in Google’s own words at “reduced bfloat16 precision.” Each MXU Reduced Precision

    Multiply Cell takes the following steps: (i) receives as input two signals that each

    represent a float32 numerical value, (ii) converts each of the received float32 numerical

    values to a bfloat16 numerical value, (iii) multiplies the resulting pair of bfloat16

    numerical values with each other, and (iv) adjusts the format of the result of the bfloat16

    multiplication generated in step (iii), if needed, to produce an output signal that

    represents a float32 numerical value to be accumulated. As published by Google:




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    When the float32 numerical values produced by the TPU’s float32 multiplication

    operation (which, as shown above, is performed at “reduced bfloat16 precision”), for a

    mathematically representative sample of all possible valid pairs of inputted float32

    numerical values, are compared to the numerical values produced by the exact full

    precision multiplication operations for those same respective valid pairs of inputted

    float32 numerical values, the TPU’s float32 numerical values differ, for at least 10% of

    those multiplied pairs, from the respective exact full precision values, by at least 0.2%.

    This is illustrated by the Singular test results shown below.




   For each MXU Reduced Precision Multiply Cell, “the statistical mean, over repeated

    execution of the first operation on each specific input from the at least X % of the

    possible valid inputs to the first operation, of the numerical values represented by the

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       first output signal of the LPHDR unit executing the first operation on that input,” will

       simply equal the numerical value represented by the output signal produced when the

       MXU Reduced Precision Multiply Cell (i.e., an LPHDR unit) executes an operation on

       input signals. Each MXU Reduced Precision Multiply Cell is part of a TPUv2 Device or

       a TPUv3 Device, which are deterministic in their designs (i.e., an operation repeatedly

       performed by a TPUv2 or a TPUv3 Device on a given set of inputs signals will always

       yield the same output signal). As published by Google:




       130.    Each TPUv2 and TPUv3 Device has “a computing device adapted to control the

operation of the at least one first LPHDR execution unit.” The computing device is the CPU

running the Host VM, which is the “master” VM that runs the controlling software program

(e.g., as set out below, “your Python code,” “your training job”, or “machine learning

workloads”). The controlling software program “drives the TensorFlow server” (i.e., a TPU

VM) which runs on a “TPU worker,” or “TPU accelerator,” which is a TPUv2 or TPUv3 Device.

As explained above, a TPUv2 or TPUv3 Device includes LPHDR execution units. As published

by Google:




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       131.    In knowingly adopting Dr. Bates’ patented computer architectures, Google reaps

the very same benefits that were predicted by Dr. Bates in his patent application more than 10

years ago. As published by Google and predicted by Dr. Bates in his patent application:




       132.    As a result of Google’s infringement of the ’961 patent, Singular has suffered

damages in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court:

       A.      enter judgment in favor of the Plaintiff on all counts of the Complaint;

       B      award Plaintiff damages as determined at trial;

       C.     award Plaintiff treble damages, costs and attorney’s fees as a result of Defendant’s

willful infringement;

       D.      enjoin Defendant’s infringement; and



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       E.      award Plaintiffs such other and further legal and equitable relief as the Court may

deem just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all counts of the complaint.


Dated: March 20, 2020
                                             Respectfully submitted,

                                             /s/ Paul J. Hayes
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                                CERTIFICATE OF SERVICE

       I certify that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system on March 20, 2020.

                                             /s/ Paul J. Hayes




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